                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

IN RE:                                           Case No. 20-51066-mar

HENRY FORD VILLAGE, INC.,                        Chapter 11

                     Debtor.                     Honorable Mark A. Randon
                                                 Objection Deadline: February 5, 2021


        FIRST MONTHLY FEE STATEMENT OF PERKINS COIE LLP
FOR COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
   COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
  FOR THE PERIOD OF NOVEMBER 4, 2020, THROUGH DECEMBER 31, 2020

         Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals (the “Interim Compensation

Order”) (Docket No. 212), Perkins Coie LLP (“Perkins Coie”), as counsel to the

Official Committee of Unsecured Creditors (the “Committee”), hereby submits its

First Monthly Fee Statement for Allowance and Payment of Compensation for

Professional Services Rendered and Reimbursement of Expenses Incurred (the “Fee

Statement”) for the period of November 4, 2020, through December 31, 2020 (the

“Fee Statement Period”).

         Notice of this Fee Statement shall be served in accordance with the Interim

Compensation Order, and objections to the relief requested herein shall be addressed

in accordance with the Interim Compensation Order.

         In support of this Fee Statement, (i) a summary of fees and expenses by

category is attached hereto as Exhibit A; (ii) a summary of fees by timekeeper is
151089287.1
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attached hereto as Exhibit B; and (iii) detailed invoices are attached hereto as

Exhibit C.

         As summarized below, Perkins Coie requests payment of 80% of its fees and

100% of expenses incurred during the Fee Statement Period.

                               FEE STATEMENT SUMMARY

    Name of Applicant:                              Perkins Coie LLP

    Authorized to Provide Professional              The Official Committee of Unsecured
    Services to:                                    Creditors

                                                    December 14, 2020
    Date of Order Approving
    Retention:                                      (effective as of November 4, 2020,
                                                    Docket No. 155)

    Fee Statement Period:                           November 4, 2020 - December 31, 2020
    Amount of Compensation sought as
                                                    $      169,522.40 1
    actual, reasonable and necessary:
    80% of Requested Compensation:                  $      135,641.92
    Expense Reimbursement sought as
                                                    $            688.00
    actual, reasonable and necessary:

This is a(n):            Monthly ☒              Interim ☐              Final Application ☐




1
    This amount reflects a voluntary reduction Perkins Coie has applied to its fees in this Chapter 11
    case, as indicated in the Application for Entry of an Order Authorizing Employment and
    Retention of Perkins Coie LLP as Lead Counsel to the Official Committee of Unsecured
    Creditors (see Docket No. 88). The total fees incurred for November and December 2020 exceed
    the approved cash collateral budget by a modest amount, which reflects the front-loaded nature
    of this representation. Total fees for the duration of this engagement are expected to be within
    the approved cash collateral budget.
                                                  -2-
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Dated: January 22, 2021                    Respectfully submitted,

                                           The Official Committee of Unsecured
                                           Creditors for Henry Ford Village, Inc.,
                                           By: /s/Eric E. Walker
                                               PERKINS COIE LLP
                                               ERIC E. WALKER
                                               KATHLEEN ALLARE
                                               131 SOUTH DEARBORN STREET
                                               SUITE 1700
                                               CHICAGO, ILLINOIS 60603-5559
                                               EWALKER@PERKINSCOIE.COM
                                               KALLARE@PERKINSCOIE.COM
                                               TELEPHONE: (312) 324-8400
                                               FACSIMILE: (312) 324-9400

                                           Lead Counsel to the Official Committee
                                           of Unsecured Creditors




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                             CERTIFICATE OF SERVICE

         The undersigned attorney certifies that on January 22, 2021, he caused a true
and correct copy of the First Monthly Fee Statement of Perkins Coie LLP for
Compensation and Reimbursement of Expenses as Counsel to the Official
Committee of Unsecured Creditors from November 4, 2020, through December 31,
2020, to be served via electronic mail on the individuals so identified on the below
Service List.
                                                            /s/Eric E. Walker
                                                               Eric E. Walker
                                    SERVICE LIST

 SHERYL L. TOBY, ESQ.                          PATRICK L. HUFFSTICKLER, ESQ.
 JONG-JU CHANG, ESQ.                           DANIELLE N. RUSHING, ESQ.
 DYKEMA GOSSETT PLLC                           DYKEMA GOSSETT PLLC
 39577 WOODWARD AVENUE                         112 EAST PECAN STREET, SUITE 1800
 SUITE 300                                     SAN ANTONIO, TX 78205
 BLOOMFIELD HILLS, MI 48304                    PHUFFSTICKLER@DYKEMA.COM
 STOBY@DYKEMA.COM                              DRUSHING@DYKEMA.COM
 JCHANG@DYKEMA.COM

 PAUL R. HAGE                                  ERIC R. BLYTHE
 JEFFE RAITT HEUER & WEISS, PC                 DANIEL S. BLECK
 27777 FRANKLIN ROAD, SUITE 2500               MINTZ, LEVIN, COHN, FERRIS, GLOVSKY
 SOUTHFIELD, MI 48034                          AND POPEO, PC
 PHAGE@JAFFELAW.COM                            ONE FINANCIAL CENTER
                                               BOSTON, MA 02111
                                               ERBLYTHE@MINTZ.COM
                                               DSBLECK@MINTZ.COM
 LESLIE BERG                                   LISA GRETCHKO
 U.S. DEPARTMENT OF JUSTICE                    BILL BURDETT
 OFFICE OF THE U.S. TRUSTEE FOR THE            HOWARD & HOWARD ATTORNEYS PLLC
 EASTERN DISTRICT OF MICHIGAN                  450 WEST FOURTH STREET
 211 WEST FORT STREET, SUITE 700               ROYAL OAK, MI 48067
 DETROIT, MI 48226                             LGRETCHKO@HOWARDANDHOWARD.COM
 LESLIE.K.BERG@USDOJ.GOV                       BBURDETT@HOWARDANDHOWARD.COM



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                     EXHIBIT A
               Summary of Fees by Category




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                                             EXHIBIT A

                                 Summary of Fees by Category for
                          First Monthly Fee Statement of Perkins Coie LLP

Billing Code / Category                                        Hours Fees          Fees (-17%)
141183.0001.0001 / Case Administration                           50.50  $30,458.50     $25,280.56
141183.0001.0002 / Hearings                                       8.70   $6,262.50      $5,197.88
141183.0001.0003 / Committee Meetings & Communications           31.80  $18,574.50     $15,416.84
141183.0001.0004 / Communication with Creditor Constituents      16.30   $9,620.50      $7,985.02
141183.0001.0005 / Retention & Fee Applications                  63.10  $27,677.50     $22,972.33
141183.0001.0007 / Cash Collateral & DIP Financing               64.80  $44,478.00     $36,916.74
141183.0001.0008 / Lien Review                                   42.40  $33,336.50     $27,669.30
141183.0001.0009 / Asset Analysis & Dispositions                 43.00  $32,485.00     $26,962.55
141183.0001.0012 / Claims Administration & Objections             1.20   $1,002.00        $831.66
141183.0001.0013 / Contested Matters & Adversary Proceedings      0.70     $385.00        $319.55
Sub-Total:                                                      322.50 $204,280.00   $169,552.40

141183.0001 - Reimbursable Costs and Expenses                                             $688.00
Sub-Total:                                                                                $688.00

Grand Total:                                                                          $170,240.40




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                   EXHIBIT B
           Summary of Fees by Timekeeper




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                                                EXHIBIT B

                                     Summary of Fees by Timekeeper for
                              First Monthly Fee Statement of Perkins Coie LLP

                                                                    Hourly
       Name                Title             Practice Group                   Hours     Fees       Fees (-17%)
                                                                     Rate
Eric E. Walker        Partner          Bankruptcy & Restructuring   $835.00   134.80 $112,558.00    $93,423.14
David J. Gold         Partner          Bankruptcy & Restructuring   $805.00    34.30 $27,611.50     $22,917.55
Jordan A. Kroop       Partner          Bankruptcy & Restructuring   $955.00     0.00       $0.00         $0.00
Christine M. Biebel   Senior Counsel   Financial Transactions       $775.00     3.10   $2,402.50     $1,994.08
Kathleen Allare       Associate        Bankruptcy & Restructuring   $550.00    72.70 $39,985.00     $33,187.55
Nima Shah             Paralegal        Financial Transactions       $270.00     0.50    $135.00       $112.05
Rachel A. Leibowitz   Paralegal        Bankruptcy & Restructuring   $280.00    77.10 $21,588.00     $17,918.04
                                                                              322.50 $204,280.00   $169,552.40




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                            EXHIBIT C
                             Invoices




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      November 4, 2020 - November 30, 2020




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6325295
Attn: Eric Walker                                                                                                         Matter No.                                        141183.0001
131 S. Dearborn St.                                                                                                       Bill Date                                      January 1, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001 / Committee Representation Chapter 11

For Professional Services rendered through November 30, 2020



Disbursements and Other Services                                                                                                                                                         $50.00
Total Invoice Amount                                                                                                                                                                     $50.00


Previous Balance Due                                                                                                                                                                   $619.00
Total Due This Invoice                                                                                                                                                                 $669.00




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6325295

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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and disclose personal information in connection with our legal representation of clients, please review our Client Privacy Policy, which can be accessed here:
https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6325295
Henry Ford Village-Creditors' Committee
141183.0001 / Committee Representation Chapter 11


                      Disbursements and Other Detailed Services through 11/30/2020

Description                                                                                                     Amount
Cogency Global Inc. - Cogency Global Inc. - Professional Services - 11/2020                                        50.00
Total                                                                                                            $50.00


                                                                                  Total Disbursements and Other Services
                                                                                                                 $50.00

                                                                                                   Total Invoice Amount
                                                                                                                  $50.00




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6326285
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0001
131 S. Dearborn St.                                                                                                       Bill Date                                      January 1, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0001 / Case Administration

For Professional Services rendered through November 30, 2020



Services                                                                                                                                                                          $19,406.00
Less (17.00)% Discount                                                                                                                                                            ($3,299.02)
Total Services                                                                                                                                                                    $16,106.98


Total Invoice Amount                                                                                                                                                              $16,106.98


Previous Balance Due                                                                                                                                                                $9,173.57
Total Due This Invoice                                                                                                                                                            $25,280.55




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6326285

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6326285
Henry Ford Village-Creditors' Committee
141183.0001.0001 / Case Administration

                                      Professional Services through 11/30/2020

Date           Attorney / Assistant       Description of Service                                                          Hours
11/04/2020     E. Walker                  Various correspondence and conferences regarding retention by committee,         3.30
                                          case overview and next steps (1.4); review case docket and pleadings to
                                          identify immediate issues for Committee consideration (1.5); initial
                                          conference with debtor’s counsel regarding case (.4);

11/04/2020     K. Allare                  Conference with E. Walker regarding case priorities (.2); review local rules     2.80
                                          (.6); review debtors' first day pleadings (2.0);

11/05/2020     E. Walker                  Review first day declaration and related pleadings and take notes regarding      3.40
                                          case overview (1.5); prepare for and attend telephone conference with
                                          debtor’s counsel and CRO (1.2); various correspondence with financial
                                          advisors (.3); prepare task list to circulate to team (.4)

11/05/2020     K. Allare                  Draft committee bylaws (1.0); correspondence with R. Leibowitz re court          3.20
                                          admission (.2); review, comment on first day motions, orders (2.0)

11/06/2020     E. Walker                  Prepare for and attend telephone conference with counsel for bondholders         1.40
                                          (.8); internal telephone conference and analysis regarding same (.3);
                                          various correspondence with debtor’s counsel regarding confidentiality
                                          agreement, UCC and title searches and conflicts information (.3);

11/06/2020     K. Allare                  Conference with L. Gretchko regarding admission (.3); correspondence             0.60
                                          with R. Leibowitz regarding same (.3);

11/08/2020     E. Walker                  Various correspondence with local counsel and debtor’s counsel regarding         0.70
                                          bankruptcy case (.5); correspondence with debtor’s counsel regarding
                                          confidentiality agreement and prepare draft of same (.2);

11/09/2020     E. Walker                  Review pleadings from prepetition entrance fee refund litigation (1.6);          2.60
                                          coordinate notices of appearance and admission (.2); various
                                          correspondence regarding entering into BAA with Debtor (.4); research
                                          regarding same (.3); correspondence regarding research into Michigan
                                          Living Care Disclosure Act (.1);

11/09/2020     R. Leibowitz               Coordinate Oath of Office phone call for E. Walker's admission to Eastern        0.70
                                          District of Michigan (.3); prepare draft notice of appearance for E. Walker's
                                          review(.4);

11/10/2020     E. Walker                  Various correspondence regarding need for Business Associate Agreement           0.80
                                          with Debtor (.4); conference regarding same (.2); correspondence with
                                          CRO regarding procedure for addressing resident questions and concerns
                                          (.2);

11/10/2020     R. Leibowitz               Finalize and file notices of appearance for K. Allare and E. Walker (.4);        0.50
                                          work with docketing to link pleadings folder for docket notices (.1);

11/11/2020     E. Walker                  Review prepetition litigation regarding entrance fee refunds (.3);               0.40
                                          correspondence regarding same (.1);

11/12/2020     R. Leibowitz               Download all first day motions and orders and compile same;                      0.70

11/12/2020     K. Allare                  Review, comment on first day orders (1.0)                                        1.00

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Invoice No. 6326285
Henry Ford Village-Creditors' Committee
141183.0001.0001 / Case Administration

Date             Attorney / Assistant       Description of Service                                                              Hours
11/13/2020       E. Walker                  Conference with US Trustee regarding overall case, escrowed entrance fee              0.30
                                            refunds and cash collateral;

11/15/2020       E. Walker                  Review first day motions and proposed final orders regarding same (2.2);              2.40
                                            correspondence regarding cash management (.2);

11/16/2020       E. Walker                  Review first day motions and correspondence with debtor’s counsel                     0.80
                                            regarding same;

11/16/2020       R. Leibowitz               Review and compile a chart of signature pages for confidentiality                     0.40
                                            agreement and bylaws received to-date;

11/16/2020       K. Allare                  Revise confidentiality agreement;                                                     0.50

11/20/2020       R. Leibowitz               Search for and compile basic biographical information on Patient Care                 0.40
                                            Ombudsman appointed by the U.S. Trustee;

11/24/2020       E. Walker                  Conference with debtor’s counsel regarding status of cash management, bid             0.90
                                            procedures and resident communications (.4); analysis regarding same (.5);

Total                                                                                                                            27.80



                                                                                                                              Services
                                                                                                                            $19,406.00

                                                                                                                Less (17.00)% Discount
                                                                                                                            ($3,299.02)

                                                                                                                         Total Services
                                                                                                                            $16,106.98
                                        Summary of Services through 11/30/2020

Attorney / Assistant                      Title                                   Billed Hours      Billed Rate         Billed Amount
E. Walker                                 Partner                                         17.00          835.00              14,195.00
K. Allare                                 Associate                                        8.10          550.00               4,455.00
R. Leibowitz                              Paralegal                                        2.70          280.00                 756.00
Total Services                                                                            27.80                             $19,406.00


                                                                                                                 Total Invoice Amount
                                                                                                                            $16,106.98




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                         6319435
Attn: Eric Walker                                                                                                         Matter No.                                 141183.0001.0003
131 S. Dearborn St.                                                                                                       Bill Date                                  December 31, 2020
Suite 1700                                                                                                                Due Date                                    Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0003 / Committee Meetings & Communications

For Professional Services rendered through November 30, 2020



Services                                                                                                                                                                          $12,135.50
Less (17.00)% Discount                                                                                                                                                            ($2,063.04)
Total Services                                                                                                                                                                    $10,072.46


Total Invoice Amount                                                                                                                                                              $10,072.46




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6319435

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6319435
Henry Ford Village-Creditors' Committee
141183.0001.0003 / Committee Meetings & Communications

                                     Professional Services through 11/30/2020

Date          Attorney / Assistant      Description of Service                                                           Hours
11/04/2020    E. Walker                 Attend committee meeting;                                                         0.30

11/04/2020    R. Leibowitz              Compile contact list for committee and counsel and correspondence                 1.40
                                        (multiple) with K. Allare and E. Walker regarding committee
                                        representation;

11/05/2020    E. Walker                 Various correspondence with committee members regarding administrative            1.40
                                        matters (.2); review and revise by-laws and contact list and circulate same
                                        to the committee (1.2)

11/05/2020    R. Leibowitz              Updates (multiple requests) to contacts list (.8); revise and ensure              1.20
                                        uniformity of information and formatting of same (.4);

11/06/2020    E. Walker                 Various correspondence with committee members regarding administrative            0.30
                                        matters;

11/09/2020    E. Walker                 Conference with counsel for committee member regarding class                      1.60
                                        representation and committee obligations (.7); review draft confidentiality
                                        agreement and circulate to Debtor for review (.4); finalize agenda, by-laws
                                        and contact list and circulate same to committee in advance of committee
                                        meeting (.5);

11/09/2020    R. Leibowitz              Update Committee Contact List per requests from members (.2); update              0.90
                                        contact information in draft by laws for E. Walker's review (.7);

11/09/2020    K. Allare                 Draft confidentiality agreement;                                                  0.70

11/10/2020    E. Walker                 Prepare for and attend Committee meeting (1.5); prepare and circulate             1.70
                                        revised agenda for same (.2);

11/10/2020    R. Leibowitz              Prepare for, attend, and keep minutes during Committee Meeting;                   1.30

11/10/2020    K. Allare                 Prepare for, participate in introductory meeting with Committee (1.2);            1.20

11/11/2020    E. Walker                 Conference with counsel for committee member regarding status of case;            0.20

11/11/2020    R. Leibowitz              Review signature pages to Committee Bylaws received to date and                   0.30
                                        correspondence with E. Walker regarding same;

11/12/2020    E. Walker                 Finalize draft confidentiality agreement and circulate to Committee for           0.90
                                        review and execution (.4); draft summary update to Committee (.5);

11/13/2020    E. Walker                 Correspondence regarding revisions to confidentiality agreement;                  0.20

11/13/2020    R. Leibowitz              Review meeting notes and prepare draft minutes from November 10, 2020             1.10
                                        Committee meeting;

11/16/2020    E. Walker                 Draft summary of status on confidentiality agreement and cash collateral          1.70
                                        for Committee (.6); review and revise meeting minutes and draft proposed
                                        agenda for Committee meeting (.7); correspondence with committee
                                        member regarding creditor communications (.4);


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                                                                                                                         Page 2
Invoice No. 6319435
Henry Ford Village-Creditors' Committee
141183.0001.0003 / Committee Meetings & Communications

Date             Attorney / Assistant       Description of Service                                                                  Hours
11/17/2020       E. Walker                  Prepare for and attend Committee meeting;                                                 0.80

11/17/2020       R. Leibowitz               Review draft meeting agenda and otherwise prepare for Committee                           1.10
                                            Meeting (.5); attend and keep minutes during same (.6);

11/19/2020       E. Walker                  Draft summary of limited objection to final order on cash collateral and                  0.30
                                            status of negotiations for Committee;

11/19/2020       R. Leibowitz               Send individual follow-up emails to each committee member regarding                       0.40
                                            Bylaws and Confidentiality Agreement;

11/21/2020       E. Walker                  Draft and circulate correspondence summarizing status of negotiations on                  0.50
                                            budget and final order for cash collateral, final order for debtor to maintain
                                            cash management system and draft applications to retain counsel for the
                                            Committee;

11/24/2020       E. Walker                  Draft summary of cash collateral hearing for committee and update on                      0.70
                                            various other issues, including cash management and professional retention
                                            (.7);

11/27/2020       E. Walker                  Correspondence with committee member regarding proof of claim;                            0.10

Total                                                                                                                                20.30



                                                                                                                                  Services
                                                                                                                                $12,135.50

                                                                                                                Less (17.00)% Discount
                                                                                                                            ($2,063.04)

                                                                                                                             Total Services
                                                                                                                                $10,072.46
                                        Summary of Services through 11/30/2020

Attorney / Assistant                      Title                                     Billed Hours       Billed Rate       Billed Amount
E. Walker                                 Partner                                           10.70           835.00                8,934.50
K. Allare                                 Associate                                           1.90          550.00                1,045.00
R. Leibowitz                              Paralegal                                           7.70          280.00                2,156.00
Total Services                                                                              20.30                               $12,135.50


                                                                                                                  Total Invoice Amount
                                                                                                                             $10,072.46




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                         6319436
Attn: Eric Walker                                                                                                         Matter No.                                 141183.0001.0004
131 S. Dearborn St.                                                                                                       Bill Date                                  December 31, 2020
Suite 1700                                                                                                                Due Date                                    Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0004 / Communication with Creditor Constituents

For Professional Services rendered through November 30, 2020



Services                                                                                                                                                                            $5,157.50
Less (17.00)% Discount                                                                                                                                                               ($876.78)
Total Services                                                                                                                                                                      $4,280.72


Total Invoice Amount                                                                                                                                                                $4,280.72




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6319436

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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and disclose personal information in connection with our legal representation of clients, please review our Client Privacy Policy, which can be accessed here:
https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6319436
Henry Ford Village-Creditors' Committee
141183.0001.0004 / Communication with Creditor Constituents

                                     Professional Services through 11/30/2020

Date          Attorney / Assistant      Description of Service                                                           Hours
11/08/2020    E. Walker                 Correspondence regarding creditor meeting;                                        0.20

11/13/2020    E. Walker                 Correspondence regarding procedure for responding to creditor                     0.20
                                        communications;

11/14/2020    E. Walker                 Correspondence with creditor regarding bankruptcy case;                           0.10

11/17/2020    E. Walker                 Correspondence regarding creditor inquiries and process for responding to         0.20
                                        same;

11/17/2020    K. Allare                 Conference with T. Osgood (Honigman) re proof of claim, class issues (.5);        1.40
                                        review research regarding same (.3); correspondence with E. Walker
                                        regarding same (.3); call with creditor re case status, chapter 11 generally
                                        (.3);

11/19/2020    E. Walker                 Various correspondence regarding creditor and resident inquiries;                 0.30

11/19/2020    K. Allare                 Conference call with creditor constituent regarding entrance fee refund,          0.80
                                        case status (.8);

11/20/2020    K. Allare                 Calls with creditor constituents re case status, treatment of entrance fee        2.50
                                        refunds (seven calls);

11/21/2020    K. Allare                 Correspondence with creditor regarding cases status (.4);                         0.40

11/23/2020    K. Allare                 Three calls with entrance fee claimants regarding bankruptcy filing, proofs       0.70
                                        of claim.

11/24/2020    E. Walker                 Correspondence with local counsel regarding resident inquiries (.2);              0.50
                                        analysis regarding same (.3);

11/25/2020    K. Allare                 Multiple calls with entrance fee claimants regarding case status, impact on       0.80
                                        entrance fees;

11/30/2020    K. Allare                 Calls with entrance fee claimants regarding bankrupty, treatment of               0.50
                                        entrance fees;

Total                                                                                                                     8.60




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Invoice No. 6319436
Henry Ford Village-Creditors' Committee
141183.0001.0004 / Communication with Creditor Constituents


                                                                                                             Services
                                                                                                            $5,157.50

                                                                                               Less (17.00)% Discount
                                                                                                            ($876.78)

                                                                                                       Total Services
                                                                                                           $4,280.72
                                   Summary of Services through 11/30/2020

Attorney / Assistant                  Title                             Billed Hours   Billed Rate    Billed Amount
E. Walker                             Partner                                   1.50       835.00           1,252.50
K. Allare                             Associate                                 7.10       550.00           3,905.00
Total Services                                                                  8.60                       $5,157.50


                                                                                                Total Invoice Amount
                                                                                                            $4,280.72




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6326286
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0005
131 S. Dearborn St.                                                                                                       Bill Date                                      January 1, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0005 / Retention & Fee Applications

For Professional Services rendered through November 30, 2020



Services                                                                                                                                                                          $23,468.00
Less (17.00)% Discount                                                                                                                                                            ($3,989.56)
Total Services                                                                                                                                                                    $19,478.44


Total Invoice Amount                                                                                                                                                              $19,478.44


Previous Balance Due                                                                                                                                                                $3,493.88
Total Due This Invoice                                                                                                                                                            $22,972.32




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6326286

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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and disclose personal information in connection with our legal representation of clients, please review our Client Privacy Policy, which can be accessed here:
https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6326286
Henry Ford Village-Creditors' Committee
141183.0001.0005 / Retention & Fee Applications

                                      Professional Services through 11/30/2020

Date           Attorney / Assistant      Description of Service                                                           Hours
11/05/2020     E. Walker                 Attend to issues regarding appearance, admission and application to be            0.60
                                         retained;

11/05/2020     R. Leibowitz              Review local rules for Eastern District of Michigan regarding admission           5.40
                                         procedures and download and complete appropriate forms for E. Walker
                                         and K. Allare (.8); telephone conference (multiple) with local counsel
                                         regarding admission process and retention application (.6); prepare draft
                                         motion to employ and declaration in support of same (2.8); prepare draft
                                         disinterestedness email (.5); correspondence (multiple) with E. Walker and
                                         K. Allare regarding retention application and admission process (.7);

11/06/2020     E. Walker                 Attend to admission to ED Michigan and retention issues;                          0.50

11/06/2020     R. Leibowitz              Create Pacer account and request admission to Eastern District of Michigan        1.20
                                         for K. Allare (.8); telephone conference with clerk of court regarding same
                                         (.4);

11/06/2020     R. Leibowitz              Prepare conflicts chart for disclosure to the bankruptcy court based on list      1.10
                                         from Dykema;

11/06/2020     R. Leibowitz              Correspond with co-counsel and E. Walker regarding conflicts chart and            0.60
                                         prepare email to send same to Conflicts team;

11/06/2020     R. Leibowitz              Finalize documents and submit request for admission to Eastern District of        0.70
                                         Michigan for E. Walker;

11/09/2020     E. Walker                 Attend to retention application (.5); correspondence regarding same (.1);         0.60

11/09/2020     R. Leibowitz              Coordinate conflicts check for disclosure to bankruptcy court;                    0.80

11/10/2020     E. Walker                 Various correspondence regarding US Trustee guidelines;                           0.30

11/10/2020     R. Leibowitz              Prepare draft application to employ Howard & Howard and declaration in            1.10
                                         support of same;

11/10/2020     R. Leibowitz              Telephone conference with local counsel regarding status of application to        0.60
                                         employ and declaration;

11/10/2020     R. Leibowitz              Review Stipulation Order regarding Fee Guidelines and compare US                  1.40
                                         Trustee billing codes with those used internally (.8); compose email
                                         analyzing same and recommended course of action to address (.6);

11/11/2020     E. Walker                 Review summary of US Trustee guidelines and various correspondence                1.80
                                         regarding same (.7); review proposed stipulation from US Trustee
                                         regarding professional retention, budgeting and staffing and revise same
                                         (.6); correspondence with debtor’s counsel regarding same (.1); conference
                                         with debtor’s counsel regarding US Trustee guidelines (.4);

11/11/2020     R. Leibowitz              Attend telephone conference with Debtor's counsel regarding notice and            0.70
                                         service issues (.5); briefly review local rules regarding retention (.2);

11/11/2020     R. Leibowitz              Identify parties on KCC service list who were excluded from conflicts chart       1.80

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Invoice No. 6326286
Henry Ford Village-Creditors' Committee
141183.0001.0005 / Retention & Fee Applications

Date           Attorney / Assistant     Description of Service                                                           Hours
                                        used for disclosure to the bankruptcy court and compile spreadsheet of
                                        same (1.4); correspondence (multiple) with the attorneys regarding same
                                        (.4);

11/12/2020     E. Walker                Correspondence with debtor’s counsel regarding interim compensation               3.20
                                        procedures (.2); analysis and correspondence regarding retention
                                        application (.4); conference with US Trustee regarding large chapter 11
                                        case guidelines, staffing and budgeting (.5); correspondence regarding
                                        same (.3); draft proposed revisions to US Trustee stipulation and circulate
                                        same to debtor’s counsel for review (.3); review and revise draft retention
                                        application and declaration in support of same (.9); various correspondence
                                        and conferences regarding same (.6);

11/12/2020     R. Leibowitz             Revise draft application to employ Howard & Howard and draft declaration          1.20
                                        in support per E. Walker's revisions to Perkins Coie application and
                                        declaration and send Howard & Howard versions to L. Gretchko (.8);
                                        telephone conferences with L. Gretchko regarding same (.4);

11/13/2020     E. Walker                Finalize comments to US Trustee stipulation and project billing codes and         0.40
                                        circulate same to US Trustee for review;

11/13/2020     R. Leibowitz             Prepare exhibit to declaration of L. Gretchko in support of application to        0.70
                                        employ Howard & Howard as co-counsel;

11/13/2020     R. Leibowitz             Review results from conflicts check and begin preparation of Walker               2.20
                                        Declaration in Support of Application to Employ;

11/14/2020     R. Leibowitz             Correspondence via email with L. Gretchko regarding exhibit to H&H                0.40
                                        employment declaration (.2); correspondence with E. Walker regarding
                                        compensation procedures (.2);

11/17/2020     E. Walker                Correspondence with US Trustee about proposed stipulation and large case          0.50
                                        guidelines (.3); correspondence regarding retention application (.2);

11/17/2020     R. Leibowitz             Telephone conference with L. Gretchko regarding status of employment              0.40
                                        application for Howard & Howard and exhibit to declaration;

11/18/2020     E. Walker                Review correspondence with US Trustee regarding large case guidelines             0.70
                                        and correspondence regarding same (.3); conference regarding same (.4);

11/19/2020     E. Walker                Attention to retention application and various correspondence regarding           2.60
                                        finalizing same (2.2); correspondence with US Trustee office regarding
                                        large case guidelines (.3); conference regarding same (.1);

11/19/2020     R. Leibowitz             Prepare conflicts chart for Declaration in Support of Application to Employ       2.60
                                        Perkins Coie and complete final revisions to Application and Declaration
                                        (1.2); prepare draft proposed order to Application to Employ (.4);
                                        correspondence (multiple) regarding checked parties list (.6); telephone
                                        conference with L. Gretchko regarding same (.4);

11/19/2020     R. Leibowitz             Additional revisions to application to employ and exhibits (1.7); finalize all    2.10
                                        documents and compile for United States Trustee's review (.4);

11/19/2020     R. Leibowitz             Finalize exhibit to declaration of Howard & Howard and correspondence             0.80

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Invoice No. 6326286
Henry Ford Village-Creditors' Committee
141183.0001.0005 / Retention & Fee Applications

Date           Attorney / Assistant     Description of Service                                                            Hours
                                        (multiple) regarding same;

11/19/2020     R. Leibowitz             Complete minor revisions to exhibit to Declaration of L. Gretchko in               0.40
                                        support of Application to Employ;

11/19/2020     R. Leibowitz             Further revisions to Declaration in support of Employment Application for          0.30
                                        Howard and Howard;

11/20/2020     E. Walker                Various correspondence regarding finalizing retention applications (.4);           0.80
                                        correspondence with debtor’s counsel and US Trustee regarding status of
                                        stipulation and budgeting (.2); conference with debtor’s counsel regarding
                                        same (.2);

11/20/2020     R. Leibowitz             Complete final revisions to proposed order on and statement of consent for         2.30
                                        application to employ Perkins (.6); prepare and review redlines of original
                                        and final application to employ and declaration in support for Howard and
                                        Howard (.7); finalize Application to Employ Howard & Howard and
                                        exhibits (.4); telephone conference (multiple) with L. Gretchko regarding
                                        same (.6)

11/20/2020     K. Allare                Review and finalize retention application for Perkins and local counsel (.7);      2.20
                                        review and comment on UST stipulation regarding billing (1.2);
                                        correspondence regarding same (.3);

11/22/2020     R. Leibowitz             Review local rules pertaining to employment applications and general               0.40
                                        motion practice and summarize same;

11/23/2020     E. Walker                Various correspondence regarding finalizing, executing and filing retention        1.30
                                        application (1.3);

11/23/2020     R. Leibowitz             Coordinate service of applications to employ counsel for committee with            0.30
                                        KCC;

11/23/2020     R. Leibowitz             Review ECF procedure and electronically file application to employ                 0.60
                                        Perkins as lead counsel to Committee (.4); compose email and send
                                        courtesy copy of same to Debtor's counsel, counsel to bondholders, and the
                                        United States Trustee (.2);

11/23/2020     R. Leibowitz             Telephone conference (multiple) with L. Gretchko regarding status of               2.90
                                        Howard & Howard Application and requested revisions (.6); complete
                                        multiple rounds of revisions to same (1.5); correspondence with L.
                                        Gretchko via email regarding revised documents (.3); correspondence with
                                        E. Walker regarding status of filing same (.2); electronically file application
                                        to employ Howard & Howard (.1) and serve courtesy copy to Debtor's
                                        counsel, bondholder's counsel, and U.S. Trustee (.1) and to KCC advising
                                        pleading is ready for service on special service list (.1);

11/23/2020     R. Leibowitz             Correspondence with E. Walker and L. Gretchko regarding Local Rule                 2.40
                                        9014 requirements for application to employ (.7); complete revisions to
                                        Application (.6); prepare notice of filing and opportunity to respond and
                                        certificate of service (.8); telephone conference with L. Gretchko regarding
                                        revisions to Howard & Howard Application (.3);

11/24/2020     E. Walker                Correspondence with local counsel regarding terms of RBC Capital Market            0.30
                                        retention;
        20-51066-mar          Doc 245     Filed 01/22/21         Entered 01/22/21 18:54:32               Page 25 of 61
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Invoice No. 6326286
Henry Ford Village-Creditors' Committee
141183.0001.0005 / Retention & Fee Applications

Date             Attorney / Assistant       Description of Service                                                          Hours
11/25/2020       K. Allare                  Research, summarize investment banker comparable fees, indemnificaiton            1.80
                                            provisions;

Total                                                                                                                        53.00



                                                                                                                           Services
                                                                                                                         $23,468.00

                                                                                                         Less (17.00)% Discount
                                                                                                                     ($3,989.56)

                                                                                                                     Total Services
                                                                                                                        $19,478.44
                                        Summary of Services through 11/30/2020

Attorney / Assistant                      Title                                 Billed Hours     Billed Rate         Billed Amount
E. Walker                                 Partner                                       13.60         835.00             11,356.00
K. Allare                                 Associate                                      4.00         550.00              2,200.00
R. Leibowitz                              Paralegal                                     35.40         280.00              9,912.00
Total Services                                                                          53.00                           $23,468.00


                                                                                                           Total Invoice Amount
                                                                                                                      $19,478.44




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                         6319439
Attn: Eric Walker                                                                                                         Matter No.                                 141183.0001.0007
131 S. Dearborn St.                                                                                                       Bill Date                                  December 31, 2020
Suite 1700                                                                                                                Due Date                                    Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0007 / Cash Collateral & DIP Financing

For Professional Services rendered through November 30, 2020



Services                                                                                                                                                                          $33,728.50
Less (17.00)% Discount                                                                                                                                                            ($5,733.85)
Total Services                                                                                                                                                                    $27,994.65


Total Invoice Amount                                                                                                                                                              $27,994.65




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6319439

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6319439
Henry Ford Village-Creditors' Committee
141183.0001.0007 / Cash Collateral & DIP Financing

                                      Professional Services through 11/30/2020

Date           Attorney / Assistant      Description of Service                                                           Hours
11/05/2020     E. Walker                 Correspondence with US Trustee regarding retention and cash collateral;           0.20

11/06/2020     E. Walker                 Analysis of cash collateral issues;                                               0.70

11/06/2020     K. Allare                 Comment on cash collateral (2.3); review, analyze precedent regarding             3.30
                                         same (.7); conference with E. Walker regarding same (.3);

11/08/2020     E. Walker                 Analysis regarding case budget (.3); correspondence with CRO regarding            0.40
                                         same (.1);

11/09/2020     E. Walker                 Correspondence with CRO regarding budgeting (.2); review interim cash             3.10
                                         collateral order and comparison to other CCRC and healthcare cash
                                         collateral orders (.8); prepare draft list of issues for final order on cash
                                         collateral (.7); perform legal research regarding 506(c) and 552(b)
                                         protections (.5); review additional comments and mark ups from co-counsel
                                         and respond to same (.9);

11/09/2020     K. Allare                 Research section 506(c) and 552(b) waivers in the 6th circuit (2.3); draft        3.90
                                         summary regarding same (.6); review cash collateral orders entered in
                                         previous CCRC cases (1.0)

11/10/2020     E. Walker                 Review interim cash collateral order and prepare list of issues to circulate      1.80
                                         to US Trustee, Debtor’s counsel and bondholders’ counsel (1.6); various
                                         correspondence regarding preparing limited objection to cash collateral
                                         (.2);

11/10/2020     K. Allare                 Review and revise cash collateral objection (1.4);                                0.40

11/11/2020     R. Leibowitz              Prepare draft correspondence to claims administrator requesting the               0.40
                                         deadline to file potential objection;

11/11/2020     K. Allare                 Research cash collateral objection issues (1.2); analyze issues list regarding    2.00
                                         same (.8);

11/12/2020     E. Walker                 Review draft cash collateral budget (.3); correspondence regarding strategy       0.50
                                         for cash collateral negotiations (.2);

11/12/2020     E. Walker                 Correspondence regarding carve out budget for Committee;                          0.20

11/13/2020     E. Walker                 Review draft final cash collateral order from bondholders’ counsel;               0.20

11/14/2020     K. Allare                 Draft objection to cash collateral (1.0); research, review CCRC cash              2.00
                                         collateral order re same (1.0);

11/15/2020     E. Walker                 Review draft final order on cash collateral and prepare initial comments          1.70
                                         and revisions to same (1.2); analysis and various correspondence regarding
                                         same (.5);

11/15/2020     K. Allare                 Analyze comments to revised cash collateral order (1.2 ); draft, revise cash      3.20
                                         collateral objection (2.0)

11/16/2020     E. Walker                 Review summary of treatment of other CCRC’s in bankruptcy and                     2.90

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Invoice No. 6319439
Henry Ford Village-Creditors' Committee
141183.0001.0007 / Cash Collateral & DIP Financing

Date           Attorney / Assistant     Description of Service                                                           Hours
                                        correspondence regarding same (.4); conference with debtor and CRO
                                        regarding draft cash collateral order and budget (.6); analysis regarding
                                        same (.3); revise comments and proposed revisions to cash collateral order
                                        and circulate to parties in advance of discussions regarding same (.5);
                                        prepare for and attend discussion regarding cash collateral order (.7);
                                        various follow up conferences regarding same (.4);

11/16/2020     K. Allare                Draft cash collateral objection (1.8); review bond indenture docs regarding       3.20
                                        binding provisions in cash collateral order (1.0); draft summary chart
                                        regarding same (.4);

11/17/2020     E. Walker                Conference with debtor’s counsel regarding status of cash collateral              3.70
                                        negotiations (.3); review and revise final cash collateral order and circulate
                                        same (.7); conference with counsel for US Trustee regarding cash collateral
                                        order (.3); review correspondence from local counsel summarizing issues
                                        relating to cash collateral (.2); conference regarding same (.3); finalize
                                        comments to cash collateral order and circulate to bond trustee counsel (.3);
                                        review draft limited objection to cash collateral and revise same (1.6);

11/17/2020     R. Leibowitz             Correspondence with E. Walker regarding service of potential objection to         0.80
                                        final order on cash collateral (.2); review motion and interim order, and
                                        correspond with claims administrator regarding timing necessary to timely
                                        serve the notice parties as identified in the motion (.6);

11/17/2020     R. Leibowitz             Highlight objection service and notice portions of interim cash collateral        0.40
                                        order and correspondence with K. Allare and E. Walker regarding same;

11/17/2020     K. Allare                Revise cash collateral objection (.8); correspondence with E. Walker, L.          1.00
                                        Gretchko regarding same (.2);

11/18/2020     E. Walker                Conference with counsel for bondholders regarding cash collateral order           1.80
                                        (.5); correspondence with local counsel regarding same (.2); various
                                        correspondence regarding limited objection to cash collateral (.3); revise
                                        and finalize same for filing (.8);

11/18/2020     R. Leibowitz             Finalize and electronically file objection to cash collateral order and           1.20
                                        certificate of service (.3); correspondence (multiple) with attorneys and
                                        claims administrator to coordinate service of same on Notice Parties (.6);
                                        serve courtesy copies via email upon counsel to the Debtor, the
                                        bondholders, and the US Trustee (.3);

11/18/2020     R. Leibowitz             Telephone conference with L. Gretchko regarding status of objection to            0.30
                                        cash collateral motion and service of same;

11/18/2020     K. Allare                Draft, finalize cash collateral objection (1.2); research, review CCRC            3.20
                                        treatment of entrance fee refund cases (1.6); coordinate filing of objection
                                        with local counsel, R. Leibowitz (.4);

11/19/2020     E. Walker                Conference with debtor’s counsel regarding status of cash collateral and          1.40
                                        cash management final orders (.3); review draft final order for cash
                                        management (.6); draft revisions to cash collateral order and circulate to
                                        local counsel (.5);

11/20/2020     E. Walker                Conference with local counsel regarding remaining issues and edits to final       1.00
                                        order on cash collateral (.4); review and revise order regarding same and
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Invoice No. 6319439
Henry Ford Village-Creditors' Committee
141183.0001.0007 / Cash Collateral & DIP Financing

Date             Attorney / Assistant       Description of Service                                                                Hours
                                            circulate to other counsel (.4); correspondence with debtor’s counsel and
                                            US Trustee regarding same (.2);

11/20/2020       R. Leibowitz               Review certificate of service of Committee's Objection to Cash Collateral               0.30
                                            and request approval to file (.2); e-file same (.1);

11/21/2020       E. Walker                  Review correspondence regarding objection to cash collateral and debtor’s               0.40
                                            continued use of cash management system and respond to same;

11/21/2020       K. Allare                  Review changes to cash collateral order;                                                0.50

11/23/2020       E. Walker                  Conference with local counsel regarding cash collateral hearing (.5);                   2.20
                                            prepare for and attend hearing (.8); various conferences regarding results
                                            from same (.5); correspondence with debtor’s counsel regarding status of
                                            cash management motion and Comerica objection (.3); correspondence
                                            local counsel regarding same (.1);

11/24/2020       R. Leibowitz               Review final cash collateral order and calendar Challenge Period deadline;              0.60

11/30/2020       E. Walker                  Review Comerica objection to motion to continue cash management                         1.90
                                            procedures and draft redline to final order (.6); draft summary of objection
                                            to same for debtor’s counsel (.3); review case law regarding same (.3);
                                            prepare for and attend conference with debtor’s counsel regarding same
                                            (.5); correspondence with local counsel regarding summary of discussions
                                            with debtor’s counsel and Committee position on cash management (.2);

Total                                                                                                                              50.80



                                                                                                                                 Services
                                                                                                                               $33,728.50

                                                                                                              Less (17.00)% Discount
                                                                                                                          ($5,733.85)

                                                                                                                           Total Services
                                                                                                                              $27,994.65
                                        Summary of Services through 11/30/2020

Attorney / Assistant                      Title                                    Billed Hours      Billed Rate           Billed Amount
E. Walker                                 Partner                                          24.10           835.00              20,123.50
K. Allare                                 Associate                                        22.70           550.00              12,485.00
R. Leibowitz                              Paralegal                                          4.00          280.00               1,120.00
Total Services                                                                             50.80                              $33,728.50


                                                                                                                Total Invoice Amount
                                                                                                                           $27,994.65




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                         6319444
Attn: Eric Walker                                                                                                         Matter No.                                 141183.0001.0009
131 S. Dearborn St.                                                                                                       Bill Date                                  December 31, 2020
Suite 1700                                                                                                                Due Date                                    Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0009 / Asset Analysis & Dispositions

For Professional Services rendered through November 30, 2020



Services                                                                                                                                                                            $2,672.00
Less (17.00)% Discount                                                                                                                                                               ($454.24)
Total Services                                                                                                                                                                      $2,217.76


Total Invoice Amount                                                                                                                                                                $2,217.76




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6319444

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6319444
Henry Ford Village-Creditors' Committee
141183.0001.0009 / Asset Analysis & Dispositions

                                        Professional Services through 11/30/2020

Date             Attorney / Assistant       Description of Service                                                               Hours
11/13/2020       E. Walker                  Review application to retain RBC (.7); conference with US Trustee                      1.20
                                            regarding same (.2); conference with potential buyer (.3);

11/23/2020       E. Walker                  Analysis regarding bid procedures (.3); correspondence with debtor’s                   0.40
                                            counsel regarding status of same (.1);

11/25/2020       E. Walker                  Review engagement letter and fee structure for RBC Capital Markets                     1.00
                                            retention (.3); correspondence regarding analysis of investment banker fees
                                            in similar cases (.2); review analysis of same (.5);

11/30/2020       E. Walker                  Review draft bid procedures (.5); correspondence with local counsel                    0.60
                                            regarding same (.1);

Total                                                                                                                              3.20



                                                                                                                               Services
                                                                                                                              $2,672.00

                                                                                                             Less (17.00)% Discount
                                                                                                                          ($454.24)

                                                                                                                          Total Services
                                                                                                                              $2,217.76
                                        Summary of Services through 11/30/2020

Attorney / Assistant                      Title                                   Billed Hours      Billed Rate       Billed Amount
E. Walker                                 Partner                                           3.20         835.00                2,672.00
Total Services                                                                              3.20                              $2,672.00


                                                                                                                Total Invoice Amount
                                                                                                                            $2,217.76




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      December 1, 2020 - December 31, 2020




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6325298
Attn: Eric Walker                                                                                                         Matter No.                                        141183.0001
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001 / Committee Representation Chapter 11

For Professional Services rendered through December 31, 2020



Disbursements and Other Services                                                                                                                                                       $638.00
Total Invoice Amount                                                                                                                                                                   $638.00


Previous Balance Due                                                                                                                                                                     $50.00
Total Due This Invoice                                                                                                                                                                 $688.00




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6325298

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6325298
Henry Ford Village-Creditors' Committee
141183.0001 / Committee Representation Chapter 11


                       Disbursements and Other Detailed Services through 12/31/2020

Description                                                                                                                   Amount
US Bank - Certified Copies - C. Janssen, Northern Illinois District Court - Certificate of Good Standing Fee /
                                                                                                                                19.00
Eric Walker - Henry Ford Village BKY, 11/05/2020
US Bank - Filing Fees - C. Janssen, Michigan Eastern District Court - Admission Fee / Eric Walker - Henry Ford
                                                                                                                               300.00
Village BKY, 11/06/2020
US Bank - Filing Fees - A. Kulas, certificate of good standing for Katie Allare, 11/05/2020                                     19.00
US Bank - Filing Fees - C. Janssen, Michigan Eastern District Court - Admission Fee / Katie Allare - Henry
                                                                                                                               300.00
Ford Village BKY, 11/06/2020
Total                                                                                                                         $638.00


                                                                                              Total Disbursements and Other Services
                                                                                                                            $638.00

                                                                                                                 Total Invoice Amount
                                                                                                                               $638.00




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6326288
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0001
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0001 / Case Administration

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                          $11,052.50
Less (17.00)% Discount                                                                                                                                                            ($1,878.93)
Total Services                                                                                                                                                                      $9,173.57


Total Invoice Amount                                                                                                                                                                $9,173.57


Previous Balance Due                                                                                                                                                              $16,106.98
Total Due This Invoice                                                                                                                                                            $25,280.55




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6326288

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6326288
Henry Ford Village-Creditors' Committee
141183.0001.0001 / Case Administration

                                      Professional Services through 12/31/2020

Date           Attorney / Assistant       Description of Service                                                         Hours
12/03/2020     R. Leibowitz               Review and finalize Response in Support of Motion to Continue Use of            1.30
                                          Cash Management Systems (.8); prepare certificate of service (.3); e-file
                                          same along with supplemental certificate of service for retention
                                          applications (.2);

12/04/2020     E. Walker                  Correspondence regarding analysis of Debtor’s schedules and statement of        0.20
                                          financial affairs for section 341 meeting;

12/07/2020     E. Walker                  Review debtor schedules and statement of financial affairs and prepare for      3.40
                                          section 341 meeting of creditors (3.1); various correspondence regarding
                                          same (.3);

12/07/2020     K. Allare                  Review, comment on schedules and SOFA (1.8); conference with L.                 2.80
                                          Gretchko regarding same (.3); conference and correspondence with E.
                                          Walker regarding 341 meeting, questions on the schedules (.7);

12/08/2020     R. Leibowitz               Review Court's website to determine process for requesting audio recording      0.60
                                          of 341 meeting of creditors (.3); prepare form and submit same to US
                                          Trustee (.3);

12/09/2020     E. Walker                  Review draft agreement to release private information to creditors and          0.40
                                          correspondence regarding comments to same;

12/11/2020     R. Leibowitz               Coordinate transcription of 341 meeting of creditors;                           0.60

12/13/2020     E. Walker                  Conference with debtor’s counsel regarding status hearing and Comerica          1.20
                                          motion regarding application for PPP loan forgiveness and analysis
                                          regarding same;

12/15/2020     R. Leibowitz               Finalize and compile Committee-Executed versions of Committee Bylaws            1.60
                                          and Confidentiality Agreement (.8) and update Committee Contact List
                                          (.6); circulate same to attorneys (.2);

12/18/2020     E. Walker                  Analysis and correspondence regarding treatment of entrance fee refunds         0.40
                                          and residency agreements in other CCRC bankruptcy cases (.3);
                                          correspondence with debtor’s counsel regarding D&O policies (.1);

12/18/2020     R. Leibowitz               Review insurance documents received from Debtor's counsel;                      0.30

12/21/2020     R. Leibowitz               Research prior CCRC cases in which bondholders were indentured trustee,         2.60
                                          download plans and other pertinent documents, and compile outline of
                                          treatment of entrance fee refunds and residency agreements;

12/22/2020     E. Walker                  Correspondence with US Trustee regarding questions to draft bar date            1.20
                                          motion (.2); review revisions to same and various correspondence with
                                          debtor’s counsel regarding same (.5); correspondence with debtor regarding
                                          solicitation of funds from former residents to renovate units (.3); review
                                          debtor insurance policies and correspondence regarding same (.2);

12/22/2020     R. Leibowitz               Review transcript from 341 meeting of creditors and begin verification for      2.20
                                          accuracy;


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                                                                                                                         Page 2
Invoice No. 6326288
Henry Ford Village-Creditors' Committee
141183.0001.0001 / Case Administration

Date             Attorney / Assistant       Description of Service                                                              Hours
12/23/2020       R. Leibowitz               Complete review and finalization of transcript of 341 meeting of creditors            3.40
                                            and circulate to attorneys;

12/26/2020       E. Walker                  Correspondence with local counsel to provide update regarding outstanding             0.30
                                            issues and tasks;

12/28/2020       R. Leibowitz               Finalize fully executed Confidentiality Agreement, signed by Committee                0.20
                                            members and counsel, and circulate to E. Walker, B. Burdett, and L.
                                            Gretchko to send to Debtor's counsel;

Total                                                                                                                            22.70



                                                                                                                               Services
                                                                                                                             $11,052.50

                                                                                                             Less (17.00)% Discount
                                                                                                                         ($1,878.93)

                                                                                                                         Total Services
                                                                                                                             $9,173.57
                                        Summary of Services through 12/31/2020

Attorney / Assistant                      Title                                    Billed Hours     Billed Rate          Billed Amount
E. Walker                                 Partner                                           7.10         835.00               5,928.50
K. Allare                                 Associate                                         2.80         550.00               1,540.00
R. Leibowitz                              Paralegal                                       12.80          280.00               3,584.00
Total Services                                                                            22.70                             $11,052.50


                                                                                                               Total Invoice Amount
                                                                                                                           $9,173.57




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6324275
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0002
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0002 / Hearings

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                           $6,262.50
Less (17.00)% Discount                                                                                                                                                            ($1,064.63)
Total Services                                                                                                                                                                      $5,197.87


Total Invoice Amount                                                                                                                                                                $5,197.87




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6324275

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6324275
Henry Ford Village-Creditors' Committee
141183.0001.0002 / Hearings

                                        Professional Services through 12/31/2020

Date             Attorney / Assistant       Description of Service                                                              Hours
12/01/2020       R. Leibowitz               Review court docket and prepare a summary of upcoming hearings per E.                 1.60
                                            Walker's request (.6); conference with L. Gretchko regarding statement of
                                            US Trustee concurrence and other upcoming deadlines (.6);
                                            correspondence (multiple) with E. Walker regarding same (.4);

12/07/2020       E. Walker                  Prepare for and attend hearing on cash management motion;                             1.60

12/08/2020       E. Walker                  Prepare for and attend section 341 meeting (3.5); conference with creditor            3.80
                                            regarding same (.3);

12/08/2020       K. Allare                  Attend 341 meeting;                                                                   0.40

12/14/2020       E. Walker                  Prepare for and attend status hearing;                                                1.30

Total                                                                                                                             8.70



                                                                                                                               Services
                                                                                                                              $6,262.50

                                                                                                             Less (17.00)% Discount
                                                                                                                         ($1,064.63)

                                                                                                                         Total Services
                                                                                                                             $5,197.87
                                        Summary of Services through 12/31/2020

Attorney / Assistant                      Title                                      Billed Hours   Billed Rate          Billed Amount
E. Walker                                 Partner                                            6.70        835.00               5,594.50
K. Allare                                 Associate                                          0.40        550.00                 220.00
R. Leibowitz                              Paralegal                                          1.60        280.00                 448.00
Total Services                                                                               8.70                            $6,262.50


                                                                                                               Total Invoice Amount
                                                                                                                           $5,197.87




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6326290
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0003
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0003 / Committee Meetings & Communications

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                           $6,439.00
Less (17.00)% Discount                                                                                                                                                            ($1,094.63)
Total Services                                                                                                                                                                      $5,344.37


Total Invoice Amount                                                                                                                                                                $5,344.37


Previous Balance Due                                                                                                                                                              $10,072.46
Total Due This Invoice                                                                                                                                                            $15,416.83




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6326290

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6326290
Henry Ford Village-Creditors' Committee
141183.0001.0003 / Committee Meetings & Communications

                                     Professional Services through 12/31/2020

Date          Attorney / Assistant      Description of Service                                                          Hours
12/03/2020    E. Walker                 Draft summary of motion to approve bid procedures and outstanding issue          1.10
                                        regarding final order on cash management for committee (.8);
                                        correspondence with committee member regarding initial comments to bid
                                        procedures (.3);

12/10/2020    E. Walker                 Correspondence with committee regarding update (.2); prepare proposed            1.60
                                        agenda regarding same (.2); prepare for Committee meeting (.3); review
                                        and revise draft meeting minutes (.3); conference with local counsel
                                        regarding committee meeting, case overview and bid procedure issues (.6);

12/10/2020    R. Leibowitz              Review records and compose email correspondence with counsel to                  0.60
                                        Plumley Class Representative and Patricia Henry Trust regarding
                                        outstanding executed bylaws and confidentiality agreement (.4) and new
                                        contact information for RehabCare (.2);

12/10/2020    R. Leibowitz              Review meeting notes from November 17, 2020 Committee meeting and                1.20
                                        prepare draft meeting minutes for E. Walker's review;

12/11/2020    E. Walker                 Prepare for and attend committee meeting to discuss latest updates and bid       1.70
                                        procedures motion;

12/11/2020    R. Leibowitz              Prepare for, attend, and keep minutes during Committee meeting;                  1.40

12/11/2020    R. Leibowitz              Additional follow up with Committee members missing signature pages;             0.30

12/15/2020    R. Leibowitz              Review notes from December 11, 2020 Committee meeting and prepare                2.20
                                        draft minutes for E. Walker's review;

12/16/2020    E. Walker                 Draft summary of status of negotiations of bid procedures and                    0.30
                                        recommendation to Committee;

12/17/2020    E. Walker                 Draft summary of status of bid procedures motion and draft CIM for               0.30
                                        Committee;

12/22/2020    E. Walker                 Conference with committee member regarding proposed process for proof            0.80
                                        of claim submission and reconciliation (.5); draft summary for committee
                                        regarding proposed bar date process (.3);

Total                                                                                                                   11.50




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Invoice No. 6326290
Henry Ford Village-Creditors' Committee
141183.0001.0003 / Committee Meetings & Communications


                                                                                                        Services
                                                                                                       $6,439.00

                                                                                          Less (17.00)% Discount
                                                                                                      ($1,094.63)

                                                                                                   Total Services
                                                                                                       $5,344.37
                                 Summary of Services through 12/31/2020

Attorney / Assistant                Title                          Billed Hours   Billed Rate     Billed Amount
E. Walker                           Partner                                5.80       835.00            4,843.00
R. Leibowitz                        Paralegal                              5.70       280.00            1,596.00
Total Services                                                            11.50                        $6,439.00


                                                                                           Total Invoice Amount
                                                                                                       $5,344.37




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6324278
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0004
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0004 / Communication with Creditor Constituents

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                            $4,463.00
Less (17.00)% Discount                                                                                                                                                               ($758.71)
Total Services                                                                                                                                                                      $3,704.29


Total Invoice Amount                                                                                                                                                                $3,704.29


Previous Balance Due                                                                                                                                                                $4,280.72
Total Due This Invoice                                                                                                                                                              $7,985.01




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6324278

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6324278
Henry Ford Village-Creditors' Committee
141183.0001.0004 / Communication with Creditor Constituents

                                        Professional Services through 12/31/2020

Date             Attorney / Assistant       Description of Service                                                                Hours
12/03/2020       K. Allare                  Calls with entrance fee claimants regarding case status;                                0.70

12/04/2020       K. Allare                  Multiple calls with entrance fee claimants regarding filing proofs of claim,            1.30
                                            upcoming 341 meeting (1.3);

12/07/2020       K. Allare                  Multiple calls with entrance fee claimants regarding case status (.8);                  1.20
                                            correspondence with T. Osgood re noticing of Plumely class members (.4);

12/08/2020       K. Allare                  Call with entrance fee creditor regarding unsecured creditor treatment (.4);            0.40

12/09/2020       E. Walker                  Correspondence with creditor representative regarding status of bankruptcy              0.20
                                            case;

12/09/2020       K. Allare                  Multiple calls with creditor constituents regarding case notices;                       0.70

12/10/2020       K. Allare                  Multiple calls with entrance fee creditors re case stutus (.5);                         0.50

12/14/2020       K. Allare                  Multiple calls and correspondence with entrance fee claimants (.8);                     0.80

12/15/2020       E. Walker                  Correspondence with creditor of Henry Ford Village;                                     0.20

12/15/2020       K. Allare                  Answer emails requesting information about sale process (.7);                           0.70

12/22/2020       E. Walker                  Conference with creditor regarding status of bankruptcy case and sale                   0.40
                                            process;

12/22/2020       K. Allare                  Conference with E. Walker regarding responses to creditor inquiries;                    0.20

12/29/2020       K. Allare                  Call with entrance fee claimant regarding proof of claim process, case                  0.40
                                            status;

Total                                                                                                                               7.70



                                                                                                                                 Services
                                                                                                                                $4,463.00

                                                                                                                 Less (17.00)% Discount
                                                                                                                              ($758.71)

                                                                                                                           Total Services
                                                                                                                               $3,704.29
                                        Summary of Services through 12/31/2020

Attorney / Assistant                      Title                                      Billed Hours      Billed Rate         Billed Amount
E. Walker                                 Partner                                             0.80            835.00              668.00
K. Allare                                 Associate                                           6.90            550.00            3,795.00
Total Services                                                                                7.70                             $4,463.00


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Invoice No. 6324278
Henry Ford Village-Creditors' Committee
141183.0001.0004 / Communication with Creditor Constituents


                                                                                             Total Invoice Amount
                                                                                                         $3,704.29




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6324283
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0005
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0005 / Retention & Fee Applications

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                            $4,209.50
Less (17.00)% Discount                                                                                                                                                               ($715.62)
Total Services                                                                                                                                                                      $3,493.88


Total Invoice Amount                                                                                                                                                                $3,493.88


Previous Balance Due                                                                                                                                                              $19,478.44
Total Due This Invoice                                                                                                                                                            $22,972.32




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6324283

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6324283
Henry Ford Village-Creditors' Committee
141183.0001.0005 / Retention & Fee Applications

                                      Professional Services through 12/31/2020

Date           Attorney / Assistant      Description of Service                                                          Hours
12/10/2020     E. Walker                 Review certificate of no response and revise same;                               0.20

12/10/2020     R. Leibowitz              Revise certificate of no response to Perkins Coie retention application and      0.60
                                         send to E. Walker for review;

12/11/2020     E. Walker                 Review proposed motion and order for interim compensation procedures             0.90
                                         and provide comments to same;

12/14/2020     R. Leibowitz              Finalize and compile certificate of no response and exhibits thereto for         1.70
                                         Perkins Coie's retention application (.3) and electronically file same (.1);
                                         finalize and compile same for Howard & Howard (.3) and send finalized
                                         version to L. Gretchko and B. Burnett for approval to electronically file
                                         (.1); telephone conference with L. Gretchko regarding certification of non-
                                         response and proposed order upload procedures (.3) and correspond with B.
                                         Burdett and his assistant (multiple) regarding filing of Howard & Howard's
                                         certification (.4); electronically file same, along with proposed order (.2);

12/17/2020     E. Walker                 Review comments to motion for interim compensation procedures and                0.40
                                         correspondence regarding same;

12/20/2020     E. Walker                 Correspondence with local counsel regarding review of monthly fee                0.10
                                         statements and status of interim compensation procedures;

12/21/2020     E. Walker                 Review correspondence from local counsel regarding FTI fee statement             0.30
                                         (.1); correspondence regarding review of same (.1); correspondence wtih
                                         debtor’s counsel regarding status of interim compensation procedures
                                         motion (.1);

12/22/2020     E. Walker                 Correspondence with debtor’s counsel regarding motion to approve interim         0.20
                                         compensation procedures (.1); correspondence regarding LEDES
                                         formatting for application for compensation (.1);

12/22/2020     R. Leibowitz              Telephone conference with L. Gretchko regarding compensation                     0.40
                                         procedures and send sample fee statements for reference purposes;

12/22/2020     R. Leibowitz              Review United States Trustee guidelines and provide clarification as to the      0.60
                                         requirement for LEDES billing;

12/23/2020     R. Leibowitz              Additional research on LEDES billing formats (.6); correspondence                1.20
                                         (multiple) with U.S. Trustee's Office regarding their requirements (.4) and
                                         correspondence internally regarding same (.2);

12/23/2020     K. Allare                 Review debtor professional fee applications (.8);                                0.80

12/24/2020     R. Leibowitz              Review interim compensation procedures motion and Local Bankruptcy               1.90
                                         Rules 2016-1 and 2016-2 (.8); prepare template to be used for monthly fee
                                         statements (.7); compose detailed email to E. Walker regarding same (.4);

12/29/2020     R. Leibowitz              Telephone conference with L. Gretchko regarding fee statement procedures         0.80
                                         (.2); prepare template coversheet to monthly fee statements for Howard and
                                         Howard (.6);


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Invoice No. 6324283
Henry Ford Village-Creditors' Committee
141183.0001.0005 / Retention & Fee Applications

Total                                                                                                       10.10



                                                                                                          Services
                                                                                                         $4,209.50

                                                                                            Less (17.00)% Discount
                                                                                                         ($715.62)

                                                                                                    Total Services
                                                                                                        $3,493.88
                                   Summary of Services through 12/31/2020

Attorney / Assistant                  Title                          Billed Hours   Billed Rate    Billed Amount
E. Walker                             Partner                                2.10       835.00           1,753.50
K. Allare                             Associate                              0.80       550.00             440.00
R. Leibowitz                          Paralegal                              7.20       280.00           2,016.00
Total Services                                                              10.10                       $4,209.50


                                                                                             Total Invoice Amount
                                                                                                         $3,493.88




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6324288
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0007
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0007 / Cash Collateral & DIP Financing

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                          $10,749.50
Less (17.00)% Discount                                                                                                                                                            ($1,827.42)
Total Services                                                                                                                                                                      $8,922.08


Total Invoice Amount                                                                                                                                                                $8,922.08


Previous Balance Due                                                                                                                                                              $27,994.65
Total Due This Invoice                                                                                                                                                            $36,916.73




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6324288

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6324288
Henry Ford Village-Creditors' Committee
141183.0001.0007 / Cash Collateral & DIP Financing

                                      Professional Services through 12/31/2020

Date           Attorney / Assistant      Description of Service                                                        Hours
12/02/2020     E. Walker                 Various correspondence and conference with debtor’s counsel regarding          0.80
                                         status of cash management;

12/03/2020     E. Walker                 Review summary of legal research on stay violation (.3); conference with       4.50
                                         Debtor’s counsel regarding motion on cash management and strategy for
                                         same (.4); draft, revise, finalize and coordinate filing of statement in
                                         support of Debtor’s motion for final order on cash management (3.8);

12/03/2020     K. Allare                 Research re response to Comerica objection to cash management (1.2);           2.10
                                         comment on response to Comerica objection (.6) correspondence with E.
                                         Walker, L. Gretchko regarding same (.3)

12/04/2020     E. Walker                 Review budget variance report and correspondence with CRO regarding            0.70
                                         same (.3); conference with Debtor’s counsel regarding status of cash
                                         management negotiations and hearing (.4);

12/07/2020     E. Walker                 Draft argument for hearing on cash management motion (.8); various             1.10
                                         correspondence with debtor’s counsel regarding same (.3);

12/08/2020     E. Walker                 Review draft order on cash management (.2); correspondence regarding           0.30
                                         same (.1);

12/09/2020     E. Walker                 Review proposed order on cash management and circulate comments to             0.40
                                         same;

12/10/2020     E. Walker                 Review Comerica motion regarding forgiveness of PPP loan and                   1.00
                                         correspondence with debtor’s counsel regarding same (.9); correspondence
                                         with US Trustee counsel regarding same (.1);

12/26/2020     E. Walker                 Correspondence with debtor’s counsel regarding status of final cash            0.10
                                         management order;

12/27/2020     E. Walker                 Review correspondence from local counsel regarding case management             0.50
                                         order and potential challenge to value of collateral and correspondence
                                         regarding same;

12/28/2020     E. Walker                 Analysis of case management order and conference with local counsel            1.30
                                         regarding same, valuation of collateral and status of sale process (.7);
                                         various correspondence regarding same (.2); conference with debtor’s
                                         counsel regarding status of final order on cash management motion (.3);
                                         review draft order regarding same (.1);

12/28/2020     K. Allare                 Conference with L. Gretchko regarding challenge analysis (.5); analyze         1.20
                                         cash collateral order regarding same (.7);

Total                                                                                                                  14.00




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Invoice No. 6324288
Henry Ford Village-Creditors' Committee
141183.0001.0007 / Cash Collateral & DIP Financing


                                                                                                          Services
                                                                                                        $10,749.50

                                                                                            Less (17.00)% Discount
                                                                                                        ($1,827.42)

                                                                                                     Total Services
                                                                                                         $8,922.08
                                   Summary of Services through 12/31/2020

Attorney / Assistant                  Title                          Billed Hours   Billed Rate     Billed Amount
E. Walker                             Partner                               10.70       835.00            8,934.50
K. Allare                             Associate                              3.30       550.00            1,815.00
Total Services                                                              14.00                       $10,749.50


                                                                                             Total Invoice Amount
                                                                                                         $8,922.08




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6324289
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0008
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0008 / Lien Review

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                          $11,243.00
Less (17.00)% Discount                                                                                                                                                            ($1,911.31)
Total Services                                                                                                                                                                      $9,331.69


Total Invoice Amount                                                                                                                                                                $9,331.69


Previous Balance Due                                                                                                                                                              $18,387.60
Total Due This Invoice                                                                                                                                                            $27,719.29




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6324289

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6324289
Henry Ford Village-Creditors' Committee
141183.0001.0008 / Lien Review

                                        Professional Services through 12/31/2020

Date             Attorney / Assistant       Description of Service                                                              Hours
12/07/2020       D. Gold                    Telephone conference with K. Allare regarding lien review;                            0.20

12/07/2020       K. Allare                  Call with D. Gold regarding lien analysis (.3); initial review of the same            0.50
                                            (.2);

12/09/2020       K. Allare                  Comment on lien review (.7); review Michigan UCC provisions (.8);                     1.50

12/16/2020       D. Gold                    Draft client memorandum regarding lien review;                                        1.30

12/17/2020       D. Gold                    Research for client memorandum regarding lien review (5.7); draft same                7.50
                                            (1.8);

12/18/2020       D. Gold                    Research for lien review memorandum (2.8); draft same (.8);                           3.60

Total                                                                                                                            14.60



                                                                                                                               Services
                                                                                                                             $11,243.00

                                                                                                               Less (17.00)% Discount
                                                                                                                           ($1,911.31)

                                                                                                                         Total Services
                                                                                                                             $9,331.69
                                        Summary of Services through 12/31/2020

Attorney / Assistant                      Title                                     Billed Hours      Billed Rate        Billed Amount
D. Gold                                   Partner                                           12.60          805.00            10,143.00
K. Allare                                 Associate                                          2.00          550.00             1,100.00
Total Services                                                                              14.60                           $11,243.00


                                                                                                                 Total Invoice Amount
                                                                                                                             $9,331.69




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6324291
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0009
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0009 / Asset Analysis & Dispositions

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                          $29,813.00
Less (17.00)% Discount                                                                                                                                                            ($5,068.21)
Total Services                                                                                                                                                                    $24,744.79


Total Invoice Amount                                                                                                                                                              $24,744.79


Previous Balance Due                                                                                                                                                                $2,217.76
Total Due This Invoice                                                                                                                                                            $26,962.55




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6324291

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6324291
Henry Ford Village-Creditors' Committee
141183.0001.0009 / Asset Analysis & Dispositions

                                      Professional Services through 12/31/2020

Date           Attorney / Assistant      Description of Service                                                         Hours
12/02/2020     E. Walker                 Review draft bid procedures and provide revisions and comments to same          2.70
                                         (1.6); circulate same to debtor’s counsel (.2); conference with debtor’s
                                         counsel regarding same and next steps (.4); review motion regarding same
                                         (.5);

12/03/2020     E. Walker                 Review motion to approve bid procedures;                                        1.20

12/07/2020     E. Walker                 Conference with debtor’s counsel regarding bid procedures motion and            0.50
                                         comments to same;

12/08/2020     E. Walker                 Analysis of motion to approve bid procedures and potential objection to         0.70
                                         same (.4); conference regarding same (.3);

12/09/2020     E. Walker                 Prepare for and attend conference with counsel regarding bid procedures         4.00
                                         and Committee's position with respect to same (.8); review and revise bid
                                         procedures and circulate same to bond trustee counsel and debtor’s counsel
                                         (.9); prepare for and attend conference with bond trustee, debtor and
                                         various professionals to discuss Committee comments to bid procedures
                                         (1.4); conference with debtor’s counsel regarding same (.2); analysis and
                                         revisions to bid procedures (.6); correspondence regarding legal research
                                         into credit bidding issue (.1);

12/09/2020     K. Allare                 Prepare for, attend conference with Debtors' counsel regarding bidding          1.90
                                         procedures (.7); conference with E. Walker regarding same (.2); comment
                                         on bidding procedures (1.0);

12/10/2020     E. Walker                 Revise draft bid procedures and circulate to debtor and bond trustee for        1.60
                                         review (1.4); correspondence with Committee regarding same (.2);

12/11/2020     K. Allare                 Research regarding bidding procedures in CCRC cases (1.8);                      1.80

12/12/2020     E. Walker                 Review comments to bid procedures motion and notice from local counsel          0.60
                                         and various correspondence regarding same;

12/12/2020     K. Allare                 Draft objection to sale procedures motion (4.2); research same (1.2);           6.40
                                         review, analyze bid procedures motion, order (1.0);

12/14/2020     E. Walker                 Review and circulate comments to draft bid procedures and order                 2.00
                                         approving same (1.4); summarize status of bid procedures for Committee
                                         (.6);

12/14/2020     K. Allare                 Comment on bidding procedures (.7); review Debtor comment on the same           1.40
                                         (.5); correspondence with E. Walker, Debtors regarding same (.2)

12/15/2020     E. Walker                 Review and revise draft objection to bid procedures motion (1.7); review        4.00
                                         and provide revisions to draft order approving bid procedures and draft bid
                                         procedures (1.5); conference with local counsel regarding same (.5);
                                         correspondence with counsel for other creditors regarding Committee
                                         position on bid procedures (.3);

12/15/2020     K. Allare                 Correspondence with E. Walker regarding potential objection to the              0.30
                                         disclosure statement;

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Invoice No. 6324291
Henry Ford Village-Creditors' Committee
141183.0001.0009 / Asset Analysis & Dispositions

Date             Attorney / Assistant       Description of Service                                                               Hours
12/16/2020       E. Walker                  Review revisions to proposed bid procedures and draft order approving                  4.90
                                            same and various conference to negotiate same (2.8); review draft objection
                                            to motion to approve bid procedures and revise same (2.1);

12/16/2020       K. Allare                  Review correspondence, comments to bidding procedures response (.2);                   0.20

12/17/2020       E. Walker                  Review draft CIM and provide comments to debtor’s investment banker                    3.00
                                            (1.4); review comments to CIM from CRO (.3); prepare outline of
                                            Committee position on bid procedures motion and circulate same to local
                                            counsel (.6); conference with debtor’s counsel to prepare for hearing (.5);
                                            conference with counsel for creditor regarding Committee position on
                                            proposed bid procedures (.2);

12/18/2020       E. Walker                  Prepare for and present at hearing to approve bid procedures (1.7); draft              2.50
                                            update for committee regarding same (.4); conference with local counsel
                                            regarding same (.4);

12/21/2020       E. Walker                  Correspondence with debtor’s counsel regarding sale process update and                 0.10
                                            related issues;

Total                                                                                                                             39.80



                                                                                                                                Services
                                                                                                                              $29,813.00

                                                                                                               Less (17.00)% Discount
                                                                                                                           ($5,068.21)

                                                                                                                          Total Services
                                                                                                                             $24,744.79
                                        Summary of Services through 12/31/2020

Attorney / Assistant                      Title                                    Billed Hours       Billed Rate         Billed Amount
E. Walker                                 Partner                                          27.80           835.00             23,213.00
K. Allare                                 Associate                                        12.00           550.00              6,600.00
Total Services                                                                             39.80                             $29,813.00


                                                                                                                Total Invoice Amount
                                                                                                                           $24,744.79




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6324292
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0012
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0012 / Claims Administration & Objections

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                            $1,002.00
Less (17.00)% Discount                                                                                                                                                               ($170.34)
Total Services                                                                                                                                                                         $831.66


Total Invoice Amount                                                                                                                                                                   $831.66




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6324292

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



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After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6324292
Henry Ford Village-Creditors' Committee
141183.0001.0012 / Claims Administration & Objections

                                        Professional Services through 12/31/2020

Date             Attorney / Assistant       Description of Service                                                       Hours
12/21/2020       E. Walker                  Review and provide comments to proposed bar date motion;                       1.20

Total                                                                                                                      1.20



                                                                                                                        Services
                                                                                                                       $1,002.00

                                                                                                          Less (17.00)% Discount
                                                                                                                       ($170.34)

                                                                                                                  Total Services
                                                                                                                        $831.66
                                        Summary of Services through 12/31/2020

Attorney / Assistant                      Title                                 Billed Hours    Billed Rate      Billed Amount
E. Walker                                 Partner                                       1.20           835.00          1,002.00
Total Services                                                                          1.20                          $1,002.00


                                                                                                           Total Invoice Amount
                                                                                                                         $831.66




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    1201 Third Avenue, Suite 4900                        Email: clientacct@perkinscoie.com
    Seattle, Washington 98101                            Accounting: 206.359.3143
    Phone: 206.359.8000                                  Fax: 206.359.9000




Henry Ford Village, Inc. - Official Committee of Unsecured Creditors                                                      Invoice No.                                           6324293
Attn: Eric Walker                                                                                                         Matter No.                                   141183.0001.0013
131 S. Dearborn St.                                                                                                       Bill Date                                     January 20, 2021
Suite 1700                                                                                                                Due Date                                     Due Upon Receipt
Chicago, IL 60603


                                                                              INVOICE SUMMARY

Re:        141183.0001.0013 / Contested Matters & Adversary Proceedings

For Professional Services rendered through December 31, 2020



Services                                                                                                                                                                               $385.00
Less (17.00)% Discount                                                                                                                                                                 ($65.45)
Total Services                                                                                                                                                                         $319.55


Total Invoice Amount                                                                                                                                                                   $319.55




                   INFORMATION MAY BE SUBJECT TO CLIENT ATTORNEY AND/OR ATTORNEY WORK PRODUCT PRIVILEGE

REMITTANCE INSTRUCTIONS
Payment Due in US Currency
Tax Identification Number.: XX-XXXXXXX

Please identify your payment with the following: Perkins Coie Account No. 141183 and Invoice 6324293

  CHECKS:                                                                                               ACH / WIRE TRANSFERS IN USD:
  Perkins Coie LLP
  Attn: Client Accounting
  PO Box 24643
  Seattle, WA 98124-0643



Client Privacy Policy. We collect or receive information in the ordinary course of providing legal services to you, including personal information. For more information about how we collect, use,
and disclose personal information in connection with our legal representation of clients, please review our Client Privacy Policy, which can be accessed here:
https://www.perkinscoie.com/en/client-privacy-policy.html.
After 30 days, a monthly late charge of 1% per month from the invoice date (or such lower rate as required by applicable law) will be due. Should a collection action or
proceeding be necessary, attorneys' fees and costs for such collection effort will also be due.

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Invoice No. 6324293
Henry Ford Village-Creditors' Committee
141183.0001.0013 / Contested Matters & Adversary Proceedings

                                        Professional Services through 12/31/2020

Date             Attorney / Assistant       Description of Service                                                           Hours
12/27/2020       K. Allare                  Correspondence with E. Walker regarding challenge period, review casues            0.70
                                            of action;

Total                                                                                                                          0.70



                                                                                                                            Services
                                                                                                                            $385.00

                                                                                                          Less (17.00)% Discount
                                                                                                                         ($65.45)

                                                                                                                      Total Services
                                                                                                                            $319.55
                                        Summary of Services through 12/31/2020

Attorney / Assistant                      Title                                  Billed Hours     Billed Rate         Billed Amount
K. Allare                                 Associate                                      0.70         550.00                 385.00
Total Services                                                                           0.70                               $385.00


                                                                                                            Total Invoice Amount
                                                                                                                          $319.55




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